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✎ PS 8
(3/15)


                              UNITED STATES DISTRICT COURT
                                                            for
                                           Eastern District of Washington


U.S.A. vs.                      Myrick, Tracy                           Docket No.             2:16CR00080-RMP-1


                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the conduct of defendant
Tracy Myrick, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge Mary K. Dimke,
sitting in the Court at Spokane, Washington, on the 14th day of April 2016, under the following conditions:

Special Condition #17: The Defendant shall participate in a program of electronically monitored home confinement. The
Defendant shall wear, at all times, an electronic monitoring device under the supervision of U.S. Pretrial Services. In the
event the Defendant does not respond to electronic monitoring or cannot be found, the U.S. Pretrial Services Office shall
notify the United States Marshals’ Service, who shall immediately find, arrest, and detain the Defendant. The Defendant
shall pay all or part of the cost of the program based upon ability pay as determined by the U.S. Pretrial Services Office.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: The defendant left his residence 36 minutes prior to his approved schedule.

                     PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       November 10, 2016
                                                                  by      s/Erik Carlson
                                                                          Erik Carlson
                                                                          U.S. Pretrial Services Officer

THE COURT ORDERS
[ X]   No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                            Signature of Judicial Officer

                                                                             11/10/2016
                                                                            Date
